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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JOHN B. WILSON, JOHN WILSON,
JR., and LESLIE B. WILSON,
Plaintiffs,

Vv. C.A. No. 21-10894-MLW
NETFLIX WORLDWIDE
ENTERTAINMENT LLC, NETFLIX,
INC., JON KARMEN, CHRIS
SMITH, LIBRARY FILMS, LLC,

and 241C FILMS, LLC,
Defendants.

WOLF, D.J. June 17, 2021

On June 2, 2021, the court adopted the parties' proposed
briefing schedule and ordered that in any motion to dismiss
defendants address, among other things, the issue of subject matter
jurisdiction because the court questioned whether diversity
jurisdiction pursuant to 28 U.S.C. §1332 exists. See June 2, 2021
Order (Dkt. No. 6), 42. On June 11, 2021, defendants filed a motion
to dismiss and a supporting memorandum, but did not, as ordered,
address the issue of the court's subject matter jurisdiction. See
Dkt. Nos. 7-8.

Therefore, it is hereby ORDERED that, by June 21, 2021,
defendants shall file:

1. An affidavit and memorandum addressing the issue of

subject matter jurisdiction as described in paragraph 2 of the
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June 2, 2021 Order, including, but not limited to, the standards
and appropriate procedures for determining whether diversity
jurisdiction exists, and whether any discovery is necessary to

resolve this issue.! See, e.g., Valentin v. Hosp. Bella Vista, 254

 

F.3d 358, 362-63 & n.3 (ist Cir. 2001); Torres-Negron v. J_& N
Records, LLC, 504 F.3d 151, 162-63 (lst Cir. 2007); Kerns v. United
States, 585 F.3d 187, 193 (4th Cir. 2009).

2. Defendants' counsel shall file an affidavit seeking to
explain and justify why they did not comply with the June 2, 2021
Order, and, therefore, why they should not be sanctioned pursuant
to Federal Rule of Civil Procedure 16(f)(1)(C) for failing to obey

the June 2, 2021 Order.

 

UNITED “STATES DISTRICT JUDG

 

1 The court recognizes that defendants included alleged facts
in support of their theory concerning subject matter jurisdiction
in their May 28, 2021 Notice of Removal. See Docket No. 1.
Defendants have not moved, pursuant to Federal Rule of Civil
Procedure 21, to have John B. Wilson, Jr. dropped as a party. In
any event, it is not clear to the court that defendants' contention
that plaintiff John B. Wilson, Jr. has been misjoined is correct.

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